                                                        Entered on Docket
                                                        August 16, 2019
                                                        EDWARD J. EMMONS, CLERK
                                                        U.S. BANKRUPTCY COURT
                                                        NORTHERN DISTRICT OF CALIFORNIA

1    DAVID BURCHARD
     CHAPTER 12 TRUSTEE                              Signed and Filed: August 15, 2019
2    P.O. BOX 4862
     FOSTER CITY, CA 94404
3    TELEPHONE (650) 638-1250
4                                                     ________________________________________
                                                      DENNIS MONTALI
5                                                     U.S. Bankruptcy Judge

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10                                 UNITED STATES BANKRUPTCY COURT
11                                 NORTHERN DISTRICT OF CALIFORNIA
12

13    In re:
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15   BRAMBILA, GUSTAVO and                                                   Case No.: 19-10172 DM
16   BRAMBILA, JO ANN                                                        Chapter 12
17                                               Debtors
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21                                  ORDER CONFIRMING CHAPTER 12 PLAN
22             After a hearing on August 6, 2019, and it appearing that the Chapter 12 Plan in this case
23   meets the requirements of 11 U.S.C. § 1225(a) of the Bankruptcy Code,
24      IT IS ORDERED that the Second Amended Chapter 12 Plan dated July 2, 2019 is confirmed.
25      IT IS FURTHER ORDERED, except insofar as inconsistent with anything above:
26      1) The first payment under the plan shall be due by September 20, 2019. All future payments will
27             be due by the 20th of each month. Disbursements by the Chapter 12 Trustee shall commence
28             with the September 2019 disbursement and shall continue through August 2024.




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1       2) With regards to the Class 1 Claim (Wells Fargo Bank, N.A., as Trustee for the Certificate
2           Holders of Banc of America Alternative Loan Trust 2003-8, Mortgage Passthrough Certificates,
3           Series 2003-8): Class 1 claim shall be secured in the amount of $373,044.26 to be amortized
4           over 30 years at the rate of 6.5% interest. The equal monthly payment shall be $2,357.89 to the
5           Class 1 claimant commencing September 20, 2019. This payment does not include escrow
6           amounts due for property taxes and insurance. Debtors shall make property tax and insurance
7           payments for the Subject Property directly to the appropriate parties and shall provide proof of
8           insurance for the Subject Property to the Class 1 claimant by September 9, 2019 to allow the
9           loan to be de-escrowed. If the Debtors fail to provide said proof of insurance, the loan shall
10          remain escrowed and the Class 1 claimant may proceed with relief from the automatic stay. All
11          other remaining terms of the original loan documents shall remain in effect. Said monthly
12          payments of $2,357.89 will be paid monthly by the Chapter 12 Trustee from payments received
13          from Debtors. After completion of the plan, Debtors shall make payments directly to said

14          creditor.

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16   Approved as to form and content:

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18   /s/ EVAN LIVINGSTON                  8/12/2019

19   EVAN LIVINGSTON
     Attorney for Debtors
20

21
     /s/ GILBERT R. YABES                 8/14/2019
22   GILBERT R. YABES
     Aldrige Pite, LLP
23
     Attorney for Creditors, Wells Fargo Bank, N.A., as Trustee for
24   The Certificate Holders of Banc of America Alternative Loan Trust
     2003-8, Mortgage Pass-Through Certificates, Series 2003-8
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26
                                            ***END OF ORDER***
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1                                    COURT SERVICE LIST
2
     GUSTAVO BRAMBILA
3
     JO ANN BRAMBILA
4    1021 LORRAINE DRIVE
     NAPA, CA 94558
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